     Case 1:94-cr-01009-AW-GRJ         Document 994        Filed 06/06/05    Page 1 of 1


                                                                                         Page 1 of 1


                  IN THE UNITED STATES DISTRICT COURT FOR THE
                         NORTHERN DISTRICT OF FLORIDA
                              GAINESVILLE DIVISION


UNITED STATES OF AMERICA,

v.                                                          CASE NO. 1:94-cr-01009-MP-AK

JOHN RICHARD KNOCK,

      Defendant.
___________________________/

                                         ORDER

       This matter is before the Court on Doc. 993, Defendant Knock’s First Motion for

Extension of Time to File Reply. For good cause shown, the Court finds the motion is well

taken, and it is GRANTED. Knock shall file his reply no later than July 11, 2005.

DONE AND ORDERED this 6th           day of June, 2005.


                                    s/ A. KORNBLUM
                                    ALLAN KORNBLUM
                                    UNITED STATES MAGISTRATE JUDGE
